 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.1 Page 1 of 13



 1   SEMNAR & HARTMAN, LLP
     Babak Semnar (SBN 224890)
 2   bob@semnarlawfirm.com
     Jared M. Hartman, Esq. (SBN 254860)
     jaredhartman@jmhattorney.com
 3   400 S. Melrose Dr., Suite 209
     Vista, CA 92081
 4   Telephone: (951) 293-4187; Fax: (888) 819-8230

 5   Attorneys for Plaintiff

 6
                                U.S. DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
 7

     BRANDON RADLE, an individual,            Case No.: '15CV0366 BEN NLS
 8
                  Plaintiff,                  COMPLAINT FOR VIOLATIONS
 9                                            OF:
           vs.                                  1. U.S. SERVICEMEMERS
10                                                 CIVIL RELIEF ACT, 50
     PRO CUSTOM, a business entity,                U.S.C.S. APPX § 501, et seq.
11                                              2. CALIFORNIA ROSENTHAL
     form unknown; and DOES 1-10,
                                                   ACT, CALIF. CIV. CODE
12                Defendants.                      1788, et seq.
13   TO THE CLERK OF THE COURT, ALL PARTIES, AND THE HONORABLE U.S.

14   DISTRICT COURT JUDGE:

15         Plaintiff, an individual, by and through his attorneys of record, BABAK

16   SEMNAR JARED M. HARTMAN of SEMNAR & HARTMAN, LLP, hereby

17   complains and alleges as follows:

18                                       INTRODUCTION

19         1.     Plaintiff brings this action to challenge the actions of Defendant PRO

20   CUSTOM (hereinafter “Defendant”) for violating his rights as a deployed U.S. Marine

21   when Defendant executed a non-judicial lien sale upon Plaintiff’s vehicle being stored

22                                             1
                                   Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.2 Page 2 of 13



 1   at Defendant’s location during Plaintiff’s period of deployment.

 2         2.    This action arises out of Defendant’s violations of the               U.S.

 3   Servicemembers’ Civil Relief Act (50 U.S.C.S. APPX § 501, et seq.) (“USSCRA”), and

 4   the California Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code §§ 1788-

 5   1788.32) (“RFDCPA”).

 6         3.    In 50 USCS Appx § 502, the U.S. Legislature made the following findings

 7   and purpose in creating the USSCRA:

 8         The purposes of this Act are—

 9         (1) to provide for, strengthen, and expedite the national defense
               through protection extended by this Act [50 USCS Appx §§
10             501 et seq.] to servicemembers of the United States to enable
               such persons to devote their entire energy to the defense needs of
11             the Nation; and

12         (2) to provide for the temporary suspension of judicial and
               administrative proceedings and transactions that may adversely
13             affect the civil rights of servicemembers during their military
               service.
14

15         4.    In Calif. Civil Code § 1788.1(a)-(b), the California Legislature issued the

16   following findings and purpose in creating the RFDCPA:

17         (a)(1) The banking and credit system and grantors of credit to
           consumers are dependent upon the collection of just and owing debts.
18         Unfair or deceptive collection practices undermine the public
           confidence which is essential to the continued functioning of the
19         banking and credit system and sound extensions of credit to
           consumers.
20
           (2) There is need to ensure that debt collectors and debtors exercise
21         their responsibilities to another with fairness and honesty and due
           regard for the rights of the other.
22                                              2
                                    Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.3 Page 3 of 13



 1
           (b) It is the purpose of this title to prohibit debt collectors from
 2         engaging in unfair or deceptive acts of practices in the collection of
           consumer debts and to require debtors to act fairly in entering into and
 3         honoring such debts, as specified in this title.

 4                                  JURISDICTION & VENUE

 5         5.      This action arises out of Defendant’s violations of the USSCRA, over

 6   which the U.S. District Court has original subject matter jurisdiction pursuant to 28

 7   U.S.C. § 1331 and 50 U.S.C.S. APPX § 597a; and the State of California RFDCPA,

 8   over which the U.S. District Court has supplemental jurisdiction 28 U.S.C. § 1367(a).

 9         6.      Because Defendant conducts business within the State of California and is

10   physically located at 303 South Coast Highway in the City of Oceanside, personal

11   jurisdiction is established.

12         7.      Because all tortious conduct occurred while Plaintiff resided in the County

13   of San Diego and because Defendant is located within the County of San Diego, venue

14   properly lies in this court.

15                                  PARTIES & DEFINITIONS

16         8.      Plaintiff is a natural person whose residence is at Camp Pendleton, State of

17   California.

18         9.      Defendant regularly does business in the State of California and is

19   physically located in the City of Oceanside.

20         10.     Pursuant to 50 U.S.C.S. APPX § 511(1), Plaintiff is a “servicemember”, as

21   he is an Active Duty member of the U.S. Marine Corps, which is included within the

22                                               3
                                     Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.4 Page 4 of 13



 1   definition of “the uniformed services” and “the armed forces” pursuant to 10 U.S.C. §

 2   101(a)(4)-(a)(5).

 3         11.    The actions complained of herein occurred during Plaintiff’s “military

 4   service” as defined in 50 U.S.C.S. APPX § 511(2)(A)(i), as Plaintiff has at all times

 5   relevant herein served full-time duty as an active member of the U.S. Marine Corps

 6   within the meaning of 10 U.S.C. § 101(d)(1).

 7         12.    As a natural person, Plaintiff is therefore a “person” as that term is defined

 8   by California Civil Code § 1788.2(g) of the RFDCPA.

 9         13.    Plaintiff, a natural person, is both a “debtor” as that term is defined by

10   California Civil Code § 1788.2(h) of the RFDCPA, because he entered into a consumer

11   credit transaction for Defendant to provide goods and services for Plaintiff to pay in the

12   future, and for which Defendant has still been collecting payments from Plaintiff even

13   after Defendant took possession of the goods and re-sold them to someone else.

14         14.    The credit extended by Defendant constitutes a “consumer credit

15   transaction” with Plaintiff, as that term is defined by California Civil Code § 1788.2(e)

16   of the RFDCPA, because the goods and services were provided by Defendant to

17   Plaintiff without payment being exchanged at the time of transaction, and in exchange

18   for Plaintiff paying Defendant over the course of time.

19         15.    Because Plaintiff, a natural person, was allegedly obligated to pay money

20   to Defendant for goods installed upon Plaintiff’s vehicle, the money allegedly owed

21   was therefore both a “consumer debt” as that term is defined by California Civil Code §

22                                               4
                                     Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.5 Page 5 of 13



 1   1788.2(f) of the RFDCPA and a “debt” as that term is defined by California Civil Code

 2   § 1788.2(d) of the RFDCPA.

 3         16.    Defendant, in the ordinary course of business, regularly, and on behalf of

 4   themselves, engages in the practice of collecting “consumer debts”, in that they

 5   regularly install goods upon customer’s vehicles in exchange for the charges to be paid

 6   in the future over a series of payments, and Defendant therefore engages in “debt

 7   collection” as that term is defined by California Civil Code section 1788.2(b) of the

 8   RFDCPA.

 9         17.    Because Defendant engages in “debt collection”, Defendant is therefore a

10   “debt collector” as that term is defined by California Civil Code section 1788.2(c) of

11   the RFDCPA.

12                                FACTUAL ALLEGATIONS

13         18.    Plaintiff makes the allegations below on information and belief, with the

14   exception of those allegations that pertain to Plaintiff’s personal knowledge.

15         19.    At all times relevant herein, Plaintiff is and was a full-time active duty

16   member of the U.S. Marine Corps.

17         20.    Sometime in approximately January 2013, Plaintiff agreed for Defendant

18   to install rims and a stereo system upon Plaintiff’s vehicle in exchange for Plaintiff

19   agreeing that the charges for such goods and services would be paid in the future by

20   way of automated deduction of approximately $64.05 out of each paycheck every two

21   weeks.

22                                               5
                                     Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.6 Page 6 of 13



 1         21.    Thereafter, sometime in approximately June of 2013, Plaintiff took his

 2   vehicle to Defendant’s location in the City of Oceanside for Defendant to provide

 3   maintenance work upon the vehicle after it sustained significant damage out of a motor

 4   vehicle accident.

 5         22.    On September 23, 2013, Plaintiff received notification from his

 6   Commanding Officer that his Marine Corps unit had been ordered to deploy for at least

 7   180 days, to return in April of 2014.

 8         23.    Plaintiff promptly notified Defendant’s store owner—Sean [Last Name

 9   Unknown]—of his recent order to deployment.

10         24.    Plaintiff then was informed that the work upon his vehicle would not be

11   completed by the time Plaintiff was to leave for deployment.

12         25.    Sean promised to store Plaintiff’s vehicle at their location until Plaintiff’s

13   return from deployment.

14         26.    Plaintiff then left for deployment with the peace of mind that his vehicle

15   would be stored and secured pending his return from deployment.

16         27.    Unfortunately, however, when Plaintiff returned from deployment on or

17   about April 23, 2014, he discovered for the first time that Defendant had sold his

18   vehicle through a non-judicial lien sale to recoup the costs for services performed upon

19   his vehicle, which was approximately $2,200.00.

20         28.    Defendant executed the lien sale without first obtaining a court order.

21         29.    Upon Plaintiff’s return from deployment and discovering the lien sale,

22                                               6
                                     Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.7 Page 7 of 13



 1   Plaintiff inquired as to why Defendant sold the vehicle after promising to hold it and

 2   was confronted with the false allegation that Plaintiff had abandoned the vehicle.

 3           30.   Plaintiff has never received any funds from Defendant that came out of the

 4   lien sale.

 5           31.   This vehicle was a 2010 Chevy Impala in excellent condition with

 6   approximately 80,000 miles.

 7           32.   Plaintiff purchased the vehicle in November of 2012 for approximately

 8   $14,416.00.

 9           33.   Since his return from deployment on or about April 23, 2014, Plaintiff has

10   been paying approximately $360.00 per month to the company that financed Plaintiff’s

11   purchase of the vehicle so as to not go into default on the loan and destroy his

12   creditworthiness, which has caused Plaintiff to be so financially strapped that he cannot

13   afford to purchase another vehicle to replace the one sold by Defendant.

14           34.   Defendant has always been withdrawing out of Plaintiff’s paychecks every

15   two weeks since January 2013 approximately $64.05 for the accessories installed upon

16   the vehicle by Defendant, which means Plaintiff has been paying these funds for goods

17   that he no longer has the enjoyment of using as a result of Defendant’s unlawful lien

18   sale.

19           35.   Since his return from deployment on or about April 23, 2014, Plaintiff has

20   been without a vehicle and has been forced to suffer the embarrassment of asking for

21   rides from his friends to physical therapy sessions at least three times per week, which

22                                               7
                                     Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.8 Page 8 of 13



 1   Plaintiff is required to attend as a result of suffering an injury during deployment.

 2         36.    This ordeal has caused Plaintiff to suffer emotional distress and mental

 3   anguish in that he has had to suffer embarrassment by asking for rides from his friends

 4   to his physical therapy sessions at least three times per week, and has experienced

 5   anger, frustration, anxiety, embarrassment, and feelings of hopelessness and fear over

 6   whether he will be able to afford to pay for another vehicle and make other monthly

 7   living expenses since he is paying approximately $360.00 per month to the financing

 8   company for a vehicle that he no longer has.

 9                             FIRST CAUSE OF ACTION
                       U.S. SERVICEMEMBERS CIVIL RELIEF ACT
10                             50 U.S.C. APPX. § 501, et seq.

11         37.    Plaintiff repeats, re-alleges, and incorporates by reference, all other

12   paragraphs as if fully stated herein.

13         38.    Pursuant to 50 U.S.C. APPX. § 537(a)(1), no person may foreclose or

14   enforce any lien upon a servicemember’s property or effects during or 90 days after a

15   servicemember’s military service, without first obtaining a court order to do so.

16         39.    Pursuant to 50 U.S.C. APPX. § 537(a)(2), a lien includes “a lien for

17   storage, repair, or cleaning of the property or effects of a servicemember or a lien on

18   such property or effects for any other reason.

19         40.    Pursuant to the holding of United States v Bomar (1993, CA5 Tex) 8 F.3d

20   226, a lien under this definition includes a mechanic’s lien for services performed upon

21   a vehicle.

22                                                8
                                      Complaint for Damages
23
 Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.9 Page 9 of 13



 1         41.    Because Defendant promised to hold Plaintiff’s vehicle during his period

 2   of deployment, and Plaintiff has satisfied all foundational definitions for protection

 3   under the USSCRA, and Defendant thereafter enforced a lien sale upon Plaintiff’s

 4   vehicle during his deployment without first obtaining a court order to do so, Defendant

 5   therefore violated 50 U.S.C. APPX. § 537(a).

 6         42.    Pursuant to 50 U.S.C. APPX. § 537(b), such a violation amounts to a

 7   criminal act, punishable as a misdemeanor by fines and/or imprisonment up to one year.

 8         43.    Pursuant to 50 U.S.C. APPX. § 597a, Plaintiff is entitled to recover actual

 9   damages by way of loss of use of the vehicle, loss of the value of the vehicle, loss for

10   out of pocket monies paid monthly to the vehicle financing company, and emotional

11   distress and mental anguish, in addition to attorneys’ fees and costs of litigation.

12         44.    Pursuant to 50 U.S.C. APPX. § 526, the period of military service tolls any

13   applicable statute of limitations. Since Plaintiff returned from deployment on or about

14   April 23, 2014, his filing of the instant Complaint within one year of return satisfies the

15   statute of limitations.

16         45.    Pursuant to 50 U.S.C. APPX. § 597b, Plaintiff is entitled to recover

17   punitive damages.

18         46.    Because Defendant promised to hold and secure Plaintiff’s vehicle during

19   his deployment, but thereafter sold the vehicle unlawfully and has since failed to

20   provide to Plaintiff any difference between the value of the sale and the value of

21   Defendant’s services, Defendant therefore acted with malice and reckless disregard of

22                                                9
                                     Complaint for Damages
23
Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.10 Page 10 of 13



 1   Plaintiff’s rights and entitles Plaintiff to recover punitive damages for the same as

 2   punishment.

 3         47.      Because Defendant regularly advertises and markets to military members,

 4   Defendant deserves punitive damages as a mechanism of deterrence to prevent similar

 5   abusive conduct towards other military customers.

 6                                SECOND CAUSE OF ACTION
                                   CALIF. ROSENTHAL ACT
 7                              CALIF. CIV. CODE §§ 1788-1788.32

 8         48.      Plaintiff repeats, re-alleges, and incorporates by reference all other

 9   paragraphs, as if fully set forth herein.

10         49.      By continuing to collect every two weeks out of Plaintiff’s paycheck for

11   goods that were recovered by Defendant and re-sold to someone else, Defendant has

12   committed the following violations of the Federal FDCPA:

13               a. Engaged in unfair and unconscionable means in an attempt to collect a debt

14                  in violation of 15 U.S.C. § 1692f of the Federal FDCPA;

15               b. Uttered false, deceptive, and misleading representations in connection with

16                  their attempt to collect a debt in violation of 15 U.S.C. § 1692e of the

17                  Federal FDCPA;

18               c. Falsely represented the character and legal status of any debt in violation of

19                  15 U.S.C. § 1692e(2) of the Federal FDCPA;

20               d. Attempted an action that cannot be legally taken in violation of 15 U.S.C.

21                  § 1692e(5) of the Federal FDCPA;

22                                                 10
                                       Complaint for Damages
23
Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.11 Page 11 of 13



 1                e. Used false representation or deceptive means to collect or attempt to

 2                   collect any debt in violation of 15 U.S.C. § 1692e(10) of the Federal

 3                   FDCPA; and

 4                f. Used unfair and unconscionable means to collect or attempt to collect any

 5                   debt in violation of 15 U.S.C. § 1692f of the Federal FDCPA.

 6           50. All of the above violations of the Federal FDCPA are incorporated into the

 7   RFDCPA via Calif. Civil Code § 1788.17, and are therefore all violations of the

 8   Rosenthal Act.

 9           51. As a result of these violations, Plaintiff suffered severe emotional distress

10   as described in the factual allegations above.

11                                    PRAYER FOR RELIEF

12           WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and

13   Plaintiff be awarded damages from Defendant as follows:

14   As to the First Cause of Action (USSCRA):

15           1.      Actual damages, as will be proven at trial, pursuant to 50 U.S.C. APPX. §

16   597a;

17           2.      Punitive damages for malice, as a mechanism for punishing Defendant and

18   for deterrence to prohibit future violations against other military members, pursuant to

19   50 U.S.C. APPX. § 597b;

20           3.      Punitive damages for reckless disregard, as a mechanism for punishing

21   Defendant and for deterrence to prohibit future violations against other military

22                                                11
                                      Complaint for Damages
23
Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.12 Page 12 of 13



 1   members, pursuant to 50 U.S.C. APPX. § 597b;

 2         4.     Any reasonable attorney’s fees and costs to maintain the instant action,

 3   pursuant to 50 U.S.C. APPX. § 597a;

 4         5.     Any other equitable relief that the Court may deem appropriate.

 5   As to the Second Cause of Action (RFDCPA):

 6         1.     An award of actual damages pursuant to California Civil Code section

 7   1788.30(a), as will be proven at trial;

 8         1.     An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code §

 9   1788.30(b) for willful and knowing violations, which is cumulative and in addition to

10   all other remedies pursuant to California Civil Code § 1788.32; plus

11         2.     An additional award of statutory damages of $1,000.00 pursuant to 15

12   U.S.C. § 1692k(a)(2)(A), as incorporated into the Rosenthal Act via Calif. Civ. Code

13   §1788.17, which is cumulative and in addition to all other remedies pursuant to

14   California Civil Code § 1788.32; plus

15         3.     An award of costs of litigation and reasonable attorney’s fees, pursuant to

16   Cal. Civ. Code section 1788.30(c).

17   DATED: 2/19/2015                             /s/ Jared M. Hartman, Esq.
                                                 JARED M. HARTMAN, ESQ.
18                                               Attorney for Plaintiff

19   ///

20   ///

21   ///

22                                              12
                                      Complaint for Damages
23
Case 3:15-cv-00366-BEN-NLS Document 1 Filed 02/19/15 PageID.13 Page 13 of 13



 1                                       TRIAL BY JURY

 2         Pursuant to the Seventh Amendment to the Constitution of the United States of

 3   America, Plaintiff is entitled to, and demands, a trial by jury.

 4
     DATED: 2/19/2015                        /s/ Jared M. Hartman, Esq.
 5                                           JARED M. HARTMAN, ESQ.
                                             Attorney for Plaintiff,
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22                                                13
                                      Complaint for Damages
23
